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                                                                  UNITED STATES BANKRUPTCY COURT
                                                                   WESTERN DISTRICT OF MICHIGAN


In re: BARFLY VENTURES, LLC, et al.,1                                                                           Case No. 20-1947-jwb
                                                                                                                Reporting Period: November 30, 2020


                                                                       MONTHLY OPERATING REPORT
                                     File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                    Document          Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                       Form No.                    Attached          Attached         Attached
Schedule of Cash Receipts and Disbursements                                            MOR-1                    MOR 1 - Disbursements
   Bank Reconciliation (or copies of debtor's bank reconciliations)                    MOR-1a                            X
   Schedule of Professional Fees Paid                                                  MOR-1b                            X
   Copies of bank statements                                                                                          MOR 1a
   Cash disbursements journals
Statement of Operations                                                                MOR-2                             X
Balance Sheet                                                                          MOR-3                                               X
Status of Postpetition Taxes                                                           MOR-4                             N/A
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                   MOR-4                             N/A
  Listing of aged accounts payable                                                     MOR-4                             N/A
Accounts Receivable Reconciliation and Aging                                           MOR-5                             N/A
Debtor Questionnaire                                                                   MOR-5                              X


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                ______________________________
Signature of Debtor                                                                    Date


_______________________________________                                                ______________________________
Signature of Joint Debtor                                                              Date

                                                                                        4.12.21
_______________________________________                                                ______________________________
Signature of Authorized Individual*                                                    Date

 Ned Lidvall                                                                           CEO
_______________________________________                                                ______________________________
Printed Name of Authorized Individual                                                  Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

1- The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552),
HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
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In re: BARFLY VENTURES, LLC, et al.                                                                     Case No. 20-1947-jwb
                        Debtor                                                                          Reporting Period: November 30, 2020


                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                  BANK ACCOUNTS                              CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.    PAYROLL       TAX       OTHER           ACTUAL            PROJECTED             ACTUAL               PROJECTED
CASH BEGINNING OF MONTH


RECEIPTS
CASH SALES
ACCOUNTS RECEIVABLE
LOANS AND ADVANCES
SALE OF ASSETS
                                                                                  See MOR 1 - Disbursements
OTHER (ATTACH LIST)
TRANSFERS (FROM DIP ACCTS)


  TOTAL RECEIPTS


DISBURSEMENTS
NET PAYROLL
PAYROLL TAXES
SALES, USE, & OTHER TAXES
INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
OTHER (ATTACH LIST)


OWNER DRAW *
TRANSFERS (TO DIP ACCTS)


PROFESSIONAL FEES
U.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS


NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                          THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                             $
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $
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In re: BARFLY VENTURES, LLC, et al.                                                                                                                                                               Case No. 20-1947-jwb
          Debtor                                                                                                                                                                       Reporting Period: November 30, 2020


                                                                                                                                        MOR 1 - Disbursements
                                      Beginning           In-transit                                                                                                                                        Ending Bank
                                     Balance BS         (deposits/ x-                                                                                                                  Service Charges        Balance         Ending Balance
            Account                  10/27/2020           fer/disb.)             Deposits     Disbursements         X-Fer Out           X-fer In       X-fer to Buyer    Chargebacks      & Other           11/30/2020         BS 11/30/2020          Bank Stmt          Diff.
                Chemical 5015 $              9,821    $                (0)   $          -     $          -      $         (9,828)   $          -     $             -    $         -    $             7    $           -       $           -                   0.00               0.00
                Chemical 5608 $                -      $              -       $          -     $         (201)   $            -      $        8,902   $             -    $         -    $             4    $         8,705     $         8,705             8,705.34               0.00
                Chemical 7488 $         2,500,000     $              -       $          314   $          -      $      (838,863)    $       24,322   $             -    $         -    $           -      $     1,685,773     $     1,685,773         1,685,772.83               0.00
                Chemical 5554 $           920,715     $       (872,701)      $          -     $ (1,086,614)     $            -      $    1,052,831   $             -    $         -    $           (62)   $        14,168     $        14,168            14,168.41               0.00
        Main Merchantile 4777 $           402,395     $         (83,052)     $        9,787   $    (191,817)    $        (86,498)   $       90,895   $             -    $         -    $          (211)   $       141,499     $       141,499           141,499.43               0.00
              Mercantile 6311 $                113    $              -       $            0   $          -      $            -      $          211   $             -    $         -    $           (12)   $           312     $           312               312.03               0.00
              Mercantile 6926 $            30,015     $              -       $            1   $          -      $            -      $           11   $             -    $         -    $           -      $        30,027     $        30,027            30,027.08               0.00
          FSA-Mercantile 0888 $              2,961    $              -       $          -     $         (621)   $         (2,961)   $          639   $             -    $         -    $           (18)   $           -       $           -                   0.00               0.00
        GRBC-Mercantile 1069  $            15,897     $         (15,897)     $          660   $       (2,466)   $           (660)   $        2,548   $             -    $         -    $           (82)   $              0    $              0                0.00               0.00
           AA-Mercantile 3877 $            12,397     $         (12,397)     $        9,918   $       (3,275)   $         (9,037)   $        2,487   $             -    $         -    $           (93)   $              0    $              0                0.00               0.00
        GRbel-Mercantile 0488 $            33,520     $         (33,520)     $       23,113   $       (5,332)   $        (21,099)   $        3,411   $             -    $         -    $           (93)   $              0    $              0                0.00               0.00
                   HCBR 3840  $            21,568     $         (21,523)     $        4,526   $     (19,801)    $         (3,966)   $       19,290   $             -    $         -    $           (94)   $              0    $              0                0.00               0.00
              HC Detroit 3859 $              9,980    $          (9,980)     $        9,973   $       (3,194)   $         (9,079)   $        2,392   $             -    $         -    $           (93)   $             (0)   $             (0)               0.00               0.00
                   HC EL 8171 $            26,411     $         (26,411)     $       14,994   $       (5,595)   $        (12,637)   $        3,330   $             -    $         -    $           (92)   $             (0)   $             (0)               0.00               0.00
                   HCGR 4123  $            22,743     $         (22,743)     $       11,174   $       (6,385)   $         (8,446)   $        3,748   $             -    $         -    $           (92)   $              0    $              0                0.00               0.00
                  HCHOL 0451  $            12,419     $         (12,419)     $        8,894   $       (3,292)   $         (7,787)   $        2,274   $             -    $         -    $           (89)   $              0    $              0                0.00               0.00
                   HCKC 9044  $                 72    $              (72)    $          -     $          -      $            -      $          -     $             -    $         -    $           -      $           -       $           -                   0.00               0.00
                   HCKZ 9227  $            25,893     $         (25,893)     $       13,040   $       (4,389)   $        (11,809)   $        3,199   $             -    $         -    $           (42)   $              0    $              0                0.00               0.00
                   HCLN 0830  $            23,884     $         (23,884)     $        6,326   $     (14,763)    $         (5,503)   $       14,031   $             -    $         -    $           (91)   $              0    $              0                0.00               0.00
                   HCLV 8353  $                (86)   $              -       $          -     $          -      $            -      $           86   $             -    $         -    $           -      $           -       $           -                                      0.00
                   HCLX 5216  $                (46)   $              -       $           45   $          (45)   $            (28)   $          142   $             -    $         -    $           (68)   $           -       $           -                   0.00               0.00
                  HCMD 8215   $             (1,208)   $           1,208      $           45   $          (45)   $            (65)   $          133   $             -    $         -    $           (67)   $           -       $           -                   0.00               0.00
                  HCMN 8664   $                -      $              -       $           75   $          (75)   $            (58)   $          125   $             -    $         -    $           (67)   $           -       $           -                   0.00               0.00
                   HCRO 9062  $                (15)   $               15     $          -     $          -      $            -      $          -     $             -    $         -    $           -      $           -       $           -                                      0.00
                  Stellas 4115$            17,138     $         (17,138)     $          499   $       (3,398)   $           (499)   $        3,485   $             -    $         -    $           (87)   $             (0)   $             (0)               0.00               0.00
                 Waldron4460  $            31,391     $              -       $          267   $         (267)   $        (31,658)   $          334   $             -    $         -    $           (67)   $             (0)   $             (0)               0.00               0.00
                  HCCHIC6863  $                 13    $              (13)    $          -     $          -      $            -      $          -     $             -    $         -    $           -      $           -       $           -                   0.00               0.00
                   HCLIN8959  $            56,615     $          11,242      $          -     $          -      $        (50,741)   $          -     $             -    $         -    $           (21)   $        17,095     $        17,095            17,094.80               0.00
                     BFV4153  $              3,451    $          83,953      $          -     $          -      $        (83,399)   $          -     $             -    $         -    $           (16)   $         3,989     $         3,989             3,989.27               0.00
                     BFV9371  $            28,647     $         (28,216)     $          -     $          -      $            -      $       29,598   $             -    $         -    $          (222)   $        29,808     $        29,808            29,807.65               0.00
                     BFV9828  $              4,817    $        110,431       $          -     $          -      $        (73,804)   $          -     $             -    $         -    $          (252)   $        41,193     $        41,193            41,192.61               0.00
         Cash on hand & misc. $           224,596     $       (224,596)      $          -     $          -      $            -      $          -     $             -    $         -    $           -      $           -       $           -                   0.00               0.00
                                                                                                                                                                                                                                                                                 0.00
Total                            $      4,436,116     $     (1,223,606) $           113,653   $   (1,351,577) $      (1,268,424) $       1,268,424   $            -     $        -     $        (2,018) $       1,972,569     $     1,972,569     $     1,972,569    $             (0)


                                                      UST Fees
                                                      Disbursements for period                $   1,351,577
                                                           1.00%                              $      13,516
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In re: BARFLY VENTURES, LLC, et al.                                                                           Case No. 20-1947-jwb
                Debtor                                                                                        Reporting Period: November 30, 2020

                                                                BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                   A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

                                                        Operating                          Payroll                         Tax                                Other
                                              #                               #                               #                               #
BALANCE PER BOOKS

BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
                                                                                              See Attachment MOR 1a
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
   balance per books

DEPOSITS IN TRANSIT                                Date          Amount            Date          Amount            Date          Amount               Date        Amount




CHECKS OUTSTANDING                                Ck. #          Amount            Ch. #         Amount            Ck. #         Amount               Ck. #       Amount




OTHER
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In re: BARFLY VENTURES, LLC, et al.                                                                                                                       Case No. 20-1947-jwb
                Debtor                                                                                                                     Reporting Period: November 30, 2020

                                               SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                        This schedule is to include all retained professional payments from case inception to current month.

                                                                               Amount                          Check                   Amount Paid            Filing-To-Date
                      Payee                           Period Covered          Approved        Payor        Number    Date             Fees  Expenses        Fees        Expenses

Rock Creek Advisors (Debtor FA)                       Sept                $     132,545 Debtor            WIRE                     $106,036             $   409,351   $      -
Mastodon Ventures (Debtor IB)                         N/A                               Debtor            WIRE                                          $    60,000   $      -
Warner Norcross + Judd (Debtor - Local)               Sept                $      50,470 Debtor            WIRE                      $40,376       $23   $   108,832   $   49,261
Sugar Felsnethal Grais & Helsinger LLP (UCC)          Sept                $      73,750 Debtor            WIRE                      $58,680             $   186,840   $       35
Jaffee Raitt Heuer & Weiss (UCC)                      Sept                $      31,750 Debtor            WIRE                      $25,683             $    88,841   $       16
Amherst Partners (UCC FA)                             Sept                $      17,640 Debtor            WIRE                      $14,112             $    41,048   $      -
Pachulski Stang Ziehl & Jones LLP (Debtor Counsel)    Sept                $      56,696 Debtor            WIRE                      $45,356             $    77,180   $      356
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In re: BARFLY VENTURES, LLC, et al.                                                                                Case No. 20-1947-jwb
                Debtor                                                                                             Reporting Period: November 30, 2020

                                                STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                                    Cumulative Filing to
REVENUES                                                                           Current Reporting Month                Date
Gross Revenues                                                                                                                 8,445,922
Less: Returns and Allowances                                                                                                     266,160
Net Revenue                                                                                                    0               8,179,762
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                                       12,090                    2,063,312
                                                                                                       (12,090)                    6,116,450
OPERATING EXPENSES
Cure Costs                                                                                              508,081
Employee Benefits Programs                                                                              37,168                      323,517
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance                                                                                   6,591
Rent and Lease Expense                                                                                      495                    2,034,483
Salaries/Commissions/Fees                                                                                                          3,420,137
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities                                                                                                 6,649
Misc                                                                                                     62,323                 2,594,566
Total Operating Expenses Before Depreciation                                                           621,308                  8,372,703
Depreciation/Depletion/Amortization                                                                                             2,249,155
Net Profit (Loss) Before Other Income & Expenses                                                      (633,398)                (4,505,408)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                                                    (73,363)
Interest Expense                                                                                           -315                 1,458,539
Other Expense (See attached schedule) "Other G&A"                                                                                 417,527
Net Profit (Loss) Before Reorganization Items                                                         (633,083)                (6,308,111)
REORGANIZATION ITEMS
Professional Fees                                                                                       727,789
Impairment                                                                                                                          186,130
U. S. Trustee Quarterly Fees                                                                                                         59,430
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                                                     731,161
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                                  ($1,360,872)                (7,284,832)

*"Insider" is defined in 11 U.S.C. Section 101(31).
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In re: BARFLY VENTURES, LLC, et al.                                                                                                   Case No. 20-1947-jwb
                                Debtor                                                                                                Reporting Period: November 30, 2020


                                                                         BALANCE SHEET 2

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                                        ASSETS                                                CURRENT REPORTING MONTH                          PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                                                               $6,661,689
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)                                                                                                                                          $36,786
Notes Receivable
Inventories                                                                                                                                                       $628,379
Prepaid Expenses                                                                                                                                                  $385,740
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                                                            $7,712,594
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment                                                                                                                                        $21,414,637
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                                                                     $21,414,637
OTHER ASSETS
Loans to Insiders* 1                                                                                                                                                    $0
Other Assets (attach schedule)                                                                                                                                      857,662
TOTAL OTHER ASSETS                                                                                                                                                $857,662

TOTAL ASSETS                                                                                                                                                   $29,984,893


                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Accrued Liabilities (see schedule)
Deferred Lease Credits
Secured Debt / Leases Obligations (Post Petition Interest)
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                                                                   $29,729,084
Priority Debt
Unsecured Debt
 Accounts Payable                                                                                                                                                 5,154,857
 PPP Loan                                                                                                                                                         6,482,827
 Acrued Liabilites (see schedule)                                                                                                                                 1,412,643
 Other Liabilities (see schedule)                                                                                                                                   185,318
 Deferred Lease Credits                                                                                                                                          10,065,439
TOTAL PRE-PETITION LIABILITIES                                                                                                                                 $53,030,168

TOTAL LIABILITIES                                                                                                                                              $53,030,168
OWNER EQUITY
Member Activity                                                                                                                                                $16,495,173
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings                                                                                                                                              (31,611,871)
Adjustments to Owner Equity (attach schedule)
Net Income                                                                                                                                                      (7,928,577)
NET OWNER EQUITY                                                                                                                                               (23,045,275)

TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                                                           $29,984,893

*"Insider" is defined in 11 U.S.C. Section 101(31).

1-                                                                                                                                                     .
     At December 31, 2018, the Company had unsecured, noninterest bearing advances due from a member in the amount of $1,554,059
2-
     As of the sale transaction date the Debtor's only asset was cash as reported on MOR 1 Disbursements.
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In re: BARFLY VENTURES, LLC, et al.                                                                      Case No. 20-1947-jwb
              Debtor                                                                                     Reporting Period: November 30, 2020

                                                      STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                      Beginning         Amount                                                                Ending
                                                        Tax            Withheld or         Amount              Date           Check No.         Tax
                                                      Liability         Accrued             Paid               Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income                                                                                                N/A
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                            SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                          Number of Days Past Due
                                                       Current             0-30            31-60          61-90                Over 90         Total
Accounts Payable                                                                                                                                          $0
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                         $0               $0                $0                $0                 $0               $0

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).
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In re: BARFLY VENTURES, LLC, et al.                                                            Case No. 20-1947-jwb
             Debtor                                                                            Reporting Period: November 30, 2020


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                      Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                               Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                       Yes            No
1. Have any assets been sold or transferred outside the normal course of business                                 X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation               X
   below.
4. Are workers compensation, general liability and other necessary insurance                        X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                   X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.


Debtor Questionnaire explanation.
                                             Case:20-01947-jwb              Doc #:455 Filed: 04/13/2021          Page 10 of 52

                                                     Return Service Requested                                         Page:             1 of 5
                                                                                                                      Statement Date: 11/30/2020
                                                                                                                      Primary Account: XXXXXX4777
                                                                          07001
                                                                                                                      Documents:       0

                                                                                                                      Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-18553-0001




                                                                                                                      E
                                                             BARFLY VENTURES, LLC                              <T> 30-0
                                                             35 OAKES ST SW STE 400                                   0
                                                             GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                        Account: XXXXXX4777
                               Last Statement     Previous Balance         This Statement    Current Balance     Total Credits       Total Debits
                                  10/30/20           319,342.65                   11/30/20     141,499.43       102,542.87 (154)   280,386.09 (104)


                              CREDITS
                              Date Description                                                                                             Amount
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            25.00
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            85.00
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            95.00
                              11/02   Transfer From Coml Analysis Ck Account      3877                                                       476.37
                              11/02   Transfer From Coml Analysis Ck Account      3840                                                       573.15
                              11/02   Transfer From Coml Analysis Ck Account      0451                                                       889.97
                              11/02   Transfer From Coml Analysis Ck Account      0830                                                       936.30
                              11/02   Transfer From Coml Analysis Ck Account      3859                                                       977.32
                              11/02   Transfer From Coml Analysis Ck Account     8171                                                      1,586.21
                              11/02   Transfer From Coml Analysis Ck Account     4123                                                      1,679.13
                              11/02   Transfer From Coml Analysis Ck Account      9227                                                     1,774.52
                              11/02   Transfer From Coml Analysis Ck Account      0488                                                     2,882.77
                              11/03   Transfer From Coml Analysis Ck Account      3877                                                         5.42
                              11/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            30.00
                              11/03   Transfer From Coml Analysis Ck Account      0488                                                        40.54
                              11/03   Transfer From Coml Analysis Ck Account     4123                                                        159.79
                              11/03   Transfer From Coml Analysis Ck Account      0830                                                       309.22
                              11/03   Transfer From Coml Analysis Ck Account     8171                                                        390.16
                              11/03   Transfer From Coml Analysis Ck Account      3859                                                       437.49
                              11/03   Transfer From Coml Analysis Ck Account      9227                                                       569.23
                              11/04   American Express Settlement XXXXXX5238                                                                  24.06
                              11/04   Transfer From Coml Analysis Ck Account      0451                                                       366.81
                              11/05   Transfer From Coml Analysis Ck Account      8215                                                        10.45
                              11/05   Transfer From Coml Analysis Ck Account      5216                                                        10.45
                              11/05   Transfer From Coml Analysis Ck Account     4460                                                         27.95
                              11/05   Transfer From Coml Analysis Ck Account      8664                                                        40.45
                              11/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                            50.00
                              11/05   Transfer From Coml Analysis Ck Account      0451                                                        97.85
                              11/05   Transfer From Coml Analysis Ck Account      3859                                                       121.71
                              11/05   Transfer From Coml Analysis Ck Account      0488                                                       330.78
                              11/05   Transfer From Coml Analysis Ck Account      9227                                                       460.12
                              11/05   Payments Bhn Ft Sre                    For 2020-11-05 A/C Mercanti                                   2,163.25
                              11/06   Transfer From Coml Analysis Ck Account      8215                                                        17.50
                                            Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021         Page 11 of 52
                                                                          BARFLY VENTURES, LLC                Page:            2 of 5
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503              Statement Date: 11/30/2020
                                                                                                              Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 201201-18553-0002




                              Date Description                                                                                  Amount
                              11/06   Transfer From Coml Analysis Ck Account      5216                                             17.50
                              11/06   Transfer From Coml Analysis Ck Account      8664                                             17.50
                              11/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 40.00
                              11/06   Transfer From Coml Analysis Ck Account     4115                                             248.50
                              11/06   Transfer From Coml Analysis Ck Account     1069                                             250.00
                              11/06   Transfer From Coml Analysis Ck Account      0830                                            337.15
                              11/06   Transfer From Coml Analysis Ck Account     4123                                             455.64
                              11/06   Transfer From Coml Analysis Ck Account      3840                                            468.10
                              11/06   Transfer From Coml Analysis Ck Account      0451                                            487.85
                              11/06   Transfer From Coml Analysis Ck Account      3877                                            743.44
                              11/06   Transfer From Coml Analysis Ck Account     8171                                             813.19
                              11/06   Transfer From Coml Analysis Ck Account      3859                                            881.16
                              11/06   Transfer From Coml Analysis Ck Account      9227                                            913.99
                              11/06   Transfer From Coml Analysis Ck Account      0488                                            981.79
                              11/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 25.00
                              11/09   Transfer From Coml Analysis Ck Account      3840                                            664.99
                              11/09   Transfer From Coml Analysis Ck Account      0830                                          1,043.36
                              11/09   Transfer From Coml Analysis Ck Account     4123                                           1,078.80
                              11/09   Transfer From Coml Analysis Ck Account      3859                                          1,212.26
                              11/09   Transfer From Coml Analysis Ck Account      3877                                          1,303.02
                              11/09   Transfer From Coml Analysis Ck Account      9227                                          1,631.81
                              11/09   Transfer From Coml Analysis Ck Account     8171                                           1,936.07
                              11/09   Transfer From Coml Analysis Ck Account      0451                                          1,946.90
                              11/09   Transfer From Coml Analysis Ck Account      0488                                          3,257.76
                              11/10   Transfer From Coml Analysis Ck Account      3840                                             49.24
                              11/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/10   Transfer From Coml Analysis Ck Account      0830                                             85.92
                              11/10   Transfer From Coml Analysis Ck Account      3859                                            287.89
                              11/10   Transfer From Coml Analysis Ck Account     4123                                             600.63
                              11/10   Transfer From Coml Analysis Ck Account      0488                                            664.69
                              11/10   Transfer From Coml Analysis Ck Account      3877                                            685.11
                              11/10   Transfer From Coml Analysis Ck Account     8171                                             689.35
                              11/10   Transfer From Coml Analysis Ck Account      9227                                            827.41
                              11/10   Infinisource0706 Pc Oct20                                                                 1,717.35
                              11/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 25.00
                              11/12   Transfer From Coml Analysis Ck Account                                                       37.32
                              11/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/12   Transfer From Coml Analysis Ck Account      0451                                            190.98
                              11/12   Transfer From Coml Analysis Ck Account      3859                                            498.52
                              11/12   Transfer From Coml Analysis Ck Account      3877                                            598.98
                              11/12   Transfer From Coml Analysis Ck Account      0830                                            668.47
                              11/12   Transfer From Coml Analysis Ck Account      9227                                            850.70
                              11/12   Transfer From Coml Analysis Ck Account     8171                                           1,060.67
                              11/12   Transfer From Coml Analysis Ck Account      0488                                          2,179.44
                              11/12   Payments Bhn Ft Sre                    For 2020-11-12 A/C Mercanti                        2,316.25
                              11/13   Transfer From Coml Analysis Ck Account      0830                                            206.97
                              11/13   Transfer From Coml Analysis Ck Account      3859                                            223.81
                              11/13   Transfer From Coml Analysis Ck Account      3840                                            257.45
                              11/13   Transfer From Coml Analysis Ck Account      0451                                            277.26
                              11/13   Transfer From Coml Analysis Ck Account     4123                                             285.87
                              11/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                300.00
                              11/13   Transfer From Coml Analysis Ck Account      3877                                            302.04
                              11/13   Transfer From Coml Analysis Ck Account      9227                                            363.83
                              11/13   Transfer From Coml Analysis Ck Account     8171                                             387.27
                              11/13   Transfer From Coml Analysis Ck Account      0488                                          1,033.15
                              11/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                150.00
                              11/16   Transfer From Coml Analysis Ck Account      3840                                            802.58
                              11/16   Transfer From Coml Analysis Ck Account      0830                                          1,101.15
                              11/16   Transfer From Coml Analysis Ck Account      3859                                          1,127.33
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                                                                          BARFLY VENTURES, LLC                Page:            3 of 5
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503              Statement Date: 11/30/2020
                                                                                                              Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 201201-18553-0003




                              Date Description                                                                                  Amount
                              11/16   Transfer From Coml Analysis Ck Account     4123                                           1,202.43
                              11/16   Transfer From Coml Analysis Ck Account      0451                                          1,533.35
                              11/16   Transfer From Coml Analysis Ck Account      9227                                          1,588.42
                              11/16   Transfer From Coml Analysis Ck Account      3877                                          1,743.32
                              11/16   Transfer From Coml Analysis Ck Account     8171                                           1,920.72
                              11/16   Transfer From Coml Analysis Ck Account      0488                                          4,373.17
                              11/17   Comb. Exc. Worldpay Worldpay Comb. Exc.                   Bar                                25.00
                              11/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/17   Transfer From Coml Analysis Ck Account      3840                                            244.63
                              11/17   Transfer From Coml Analysis Ck Account      0830                                            264.08
                              11/17   Transfer From Coml Analysis Ck Account      0451                                            279.36
                              11/17   Transfer From Coml Analysis Ck Account     4123                                             430.82
                              11/17   Transfer From Coml Analysis Ck Account      9227                                            466.33
                              11/17   Transfer From Coml Analysis Ck Account      3859                                            596.63
                              11/17   Transfer From Coml Analysis Ck Account      3877                                            664.44
                              11/17   Transfer From Coml Analysis Ck Account     8171                                             822.66
                              11/17   Transfer From Coml Analysis Ck Account      0488                                          1,227.38
                              11/18   American Express Settlement XXXXXX5238                                                       48.14
                              11/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 60.00
                              11/18   Transfer From Coml Analysis Ck Account      3840                                             93.98
                              11/18   Transfer From Coml Analysis Ck Account      0830                                            231.47
                              11/18   Transfer From Coml Analysis Ck Account      0451                                            270.50
                              11/18   Transfer From Coml Analysis Ck Account      3859                                            286.47
                              11/18   Transfer From Coml Analysis Ck Account      3877                                            306.02
                              11/18   Transfer From Coml Analysis Ck Account      9227                                            469.10
                              11/18   Transfer From Coml Analysis Ck Account     4123                                             479.88
                              11/18   Transfer From Coml Analysis Ck Account     8171                                             628.79
                              11/18   Transfer From Coml Analysis Ck Account      0488                                          1,116.89
                              11/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/19   Transfer From Coml Analysis Ck Account      0451                                            198.34
                              11/19   Transfer From Coml Analysis Ck Account     4123                                             278.43
                              11/19   Transfer From Coml Analysis Ck Account      3877                                            279.15
                              11/19   Transfer From Coml Analysis Ck Account     8171                                             343.03
                              11/19   Transfer From Coml Analysis Ck Account      3859                                            351.99
                              11/19   Transfer From Coml Analysis Ck Account      9227                                            444.11
                              11/19   Transfer From Coml Analysis Ck Account      0488                                            982.82
                              11/19   Payments Bhn Ft Sre                    For 2020-11-19 A/C Mercanti                        2,252.50
                              11/20   Transfer From Coml Analysis Ck Account      3877                                             17.45
                              11/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 45.00
                              11/20   Transfer From Coml Analysis Ck Account     4123                                             145.78
                              11/20   Transfer From Coml Analysis Ck Account      0488                                            509.95
                              11/20   Transfer From Coml Analysis Ck Account      0451                                            598.17
                              11/23   Hr Select Llc Ach Return Ixzgkewp7                                                           19.00
                              11/23   Transfer From Coml Analysis Ck Account     4460                                             239.16
                              11/23   Transfer From Coml Analysis Ck Account     4115                                             250.88
                              11/23   Transfer From Coml Analysis Ck Account      0830                                            318.74
                              11/23   Transfer From Coml Analysis Ck Account     1069                                             410.00
                              11/23   Transfer From Coml Analysis Ck Account      0451                                            649.43
                              11/23   Transfer From Coml Analysis Ck Account      3840                                            766.53
                              11/23   Transfer From Coml Analysis Ck Account      9227                                          1,449.05
                              11/23   Transfer From Coml Analysis Ck Account      0488                                          1,518.11
                              11/23   Transfer From Coml Analysis Ck Account     4123                                           1,648.95
                              11/23   Transfer From Coml Analysis Ck Account      3877                                          1,912.21
                              11/23   Transfer From Coml Analysis Ck Account     8171                                           2,059.01
                              11/23   Transfer From Coml Analysis Ck Account      3859                                          2,076.15
                              11/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                 50.00
                              11/25   American Express Settlement XXXXXX5238                                                       96.62
                              11/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                150.00
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                                                                              BARFLY VENTURES, LLC                         Page:            4 of 5
                                                                              35 OAKES ST SW STE 400
                                                                              GRAND RAP DS, MI 49503                       Statement Date: 11/30/2020
                                                                                                                           Primary Account: XXXXXX4777




                               CREDITS (Continued)
MGMCSTMTN 201201-18553-0004




                              Date Description                                                                                               Amount
                              11/27 Payments Bhn Ft Sre                   For 2020-11-26 A/C Mercanti                                        1,423.75
                              11/30 American Express Settlement XXXXXX5238                                                                      72.20
                              11/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                               110.00

                               CHECKS
                               Date      Check No       Amount         Date         Check No           Amount       Date      Check No     Amount
                              11/05       84067 *        135.93       11/16         84096                 353.22   11/19       84106       1,896.02
                              11/09       84080 *        300.00       11/09         84097               2,909.40   11/18       84107         183.20
                              11/03       84088        3,681.40       11/10         84098                 495.00   11/25       84108         628.60
                              11/04       84089        5,066.00       11/16         84099               1,198.04   11/25       84109         527.31
                              11/05       84090          132.00       11/19         84100              72,523.24   11/25       84110         273.56
                              11/02       84091          102.10       11/19         84101                 325.00   11/25       84111 *       319.06
                              11/09       84092          525.00       11/16         84102                  74.90   11/24       84121         170.00
                              11/04       84093        1,050.00       11/23         84103               1,072.70   11/27       84122      13,859.96
                              11/16       84094          960.00       11/17         84104                 144.88   11/30       84123      13,510.44
                              11/16       84095          705.61       11/23         84105                  48.13
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                               Amount
                              11/02   Transfer To Coml Analysis Ck Account       0888                                                           95.00
                              11/02   Transfer To Coml Analysis Ck Account       4115                                                          307.60
                              11/02   Accident Fund Online Pay                                                                               9,224.40
                              11/02   Internet Transfer To Internal Bank Ac XXXXXX639 On 11/02/20 At 12:10                                  18,318.78
                              11/03   Transfer To Coml Analysis Ck Account        3840                                                          13.42
                              11/03   Transfer To Coml Analysis Ck Account       4115                                                          504.20
                              11/03   Transfer To Coml Analysis Ck Account        0451                                                       2,103.37
                              11/03   Visa Payment 402884xxxxx7816                                                                           2,158.40
                              11/04   Transfer To Coml Analysis Ck Account       4460                                                           27.95
                              11/04   Transfer To Coml Analysis Ck Account        8215                                                          27.95
                              11/04   Transfer To Coml Analysis Ck Account        5216                                                          27.95
                              11/04   Transfer To Coml Analysis Ck Account        8664                                                          57.95
                              11/04   Mthchgs Worldpay Merch Bankcard            Barfly App                                                    155.71
                              11/04   Transfer To Coml Analysis Ck Account       1069                                                        2,018.74
                              11/04   Transfer To Coml Analysis Ck Account        3859                                                       2,065.39
                              11/04   Transfer To Coml Analysis Ck Account       4115                                                        2,311.02
                              11/04   Transfer To Coml Analysis Ck Account        0830                                                       2,413.14
                              11/04   Transfer To Coml Analysis Ck Account        3877                                                       2,475.93
                              11/04   Transfer To Coml Analysis Ck Account       8171                                                        2,565.10
                              11/04   Transfer To Coml Analysis Ck Account       4123                                                        2,733.37
                              11/04   Transfer To Coml Analysis Ck Account        9227                                                       2,967.85
                              11/04   Transfer To Coml Analysis Ck Account        3840                                                       3,002.57
                              11/04   Transfer To Coml Analysis Ck Account        0488                                                       3,410.92
                              11/05   Transfer To Coml Analysis Ck Account        3877                                                          10.62
                              11/05   Transfer To Coml Analysis Ck Account       8171                                                          415.39
                              11/05   Transfer To Coml Analysis Ck Account        3840                                                         836.13
                              11/05   Transfer To Coml Analysis Ck Account       4123                                                          996.22
                              11/05   Transfer To Coml Analysis Ck Account        0830                                                       1,221.84
                              11/05   Barfly Ventures 1054 Clm Fund                                                                         17,745.56
                              11/06   Adp Payroll Fees Adp - Fees                                                                               19.68
                              11/06   Hr Select Llc Hr Select Ikg8gmrn2                                                                         38.00
                              11/06   Adp Payroll Fees Adp - Fees                                                                            2,945.35
                              11/09   Star2starcom Purchase                                                                                    350.29
                              11/09   Star2starcom Purchase                                                                                    417.15
                              11/09   Star2starcom Purchase                                                                                    470.60
                              11/09   Star2starcom Purchase                                                                                    686.60
                              11/09   Olo - Help@olo.c Purchase Denise Williams                                                              2,145.00
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                                                                            BARFLY VENTURES, LLC                  Page:            5 of 5
                                                                            35 OAKES ST SW STE 400
                                                                            GRAND RAP DS, MI 49503                Statement Date: 11/30/2020
                                                                                                                  Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 201201-18553-0005




                              Date Description                                                                                         Amount
                              11/10   Transfer To Coml Analysis Ck Account        4115                                                    37.32
                              11/10   Transfer To Coml Analysis Ck Account        1069                                                    37.32
                              11/10   Transfer To Coml Analysis Ck Account         8215                                                   37.32
                              11/10   Ins Prem Enroll 123 Llc Nte*Teladoc Invoice                                                        121.50
                              11/10   Transfer To Coml Analysis Ck Account         0451                                                  170.79
                              11/10   Accident Fund Online Pay                                                                         9,224.40
                              11/12   Comb. Exc. Worldpay Worldpay Comb. Exc.                     Bar                                     25.00
                              11/12   Transfer To Coml Analysis Ck Account        0888                                                   526.00
                              11/12   Transfer To Coml Analysis Ck Account         3840                                                1,497.62
                              11/12   Internet Transfer To Internal Bank Ac XXXXXX639 On 11/12/20 At 13:27                             3,497.93
                              11/13   Hr Select Llc Hr Select Ibxpm62em                                                                  228.00
                              11/13   Contribute Aegon Usa                                       corp                                  2,526.82
                              11/13   Internet Transfer To Internal Bank Ac XXXXXX639 On 11/13/20 At 14:02                             2,700.00
                              11/13   Star2starcom Purchase                                                                            4,033.69
                              11/16   Transfer To Coml Analysis Ck Account        0888                                                    17.60
                              11/16   Transfer To Coml Analysis Ck Account        4460                                                    67.30
                              11/16   Transfer To Coml Analysis Ck Account         8664                                                   67.30
                              11/16   Transfer To Coml Analysis Ck Account         8215                                                   67.45
                              11/16   Transfer To Coml Analysis Ck Account         5216                                                   67.60
                              11/16   Transfer To Coml Analysis Ck Account        4115                                                    73.66
                              11/16   Transfer To Coml Analysis Ck Account        1069                                                    81.87
                              11/16   Commercial Service Charge                                                                          210.52
                              11/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       100.00
                              11/19   Transfer To Coml Analysis Ck Account         0830                                               10,388.43
                              11/19   Transfer To Coml Analysis Ck Account         3840                                               13,480.13
                              11/20   Transfer To Coml Analysis Ck Account         0830                                                    7.43
                              11/20   Hr Select Llc Hr Select Ixzgkewp7                                                                   19.00
                              11/20   Transfer To Coml Analysis Ck Account         9227                                                  231.36
                              11/20   Transfer To Coml Analysis Ck Account        4460                                                   239.16
                              11/20   Transfer To Coml Analysis Ck Account        4115                                                   250.88
                              11/20   Transfer To Coml Analysis Ck Account         3859                                                  327.00
                              11/20   Transfer To Coml Analysis Ck Account        8171                                                   349.87
                              11/20   Transfer To Coml Analysis Ck Account        1069                                                   410.00
                              11/20   Transfer To Coml Analysis Ck Account         3840                                                  459.97
                              11/24   Internet Transfer To Internal Bank Ac XXXXXX639 On 11/24/20 At 13:46                               459.05
                              11/25   Barfly Ventures 1054 Dec Fees                                                                   17,822.14
                              11/27   Transfer To Coml Analysis Ck Account        4123                                                    18.82
                              11/27   Comb. Exc. Worldpay Worldpay Comb. Exc.                     Bar                                     50.00

                              DAILY BALANCE
                                Date                  Balance             Date                       Balance   Date              Balance
                                 11/02              303,275.51            11/12                255,019.15      11/23           187,185.80
                                 11/03              296,756.57            11/13                249,168.29      11/24           186,606.75
                                 11/04              264,769.90            11/16                260,765.69      11/25           167,182.70
                                 11/05              246,589.22            11/17                265,592.14      11/27           154,827.67
                                 11/06              250,259.50            11/18                269,400.18      11/30           141,499.43
                                 11/09              256,555.43            11/19                175,967.73
                                 11/10              252,089.37            11/20                174,989.41
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                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX4123
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-09603-0001




                                                                                                                     E
                                                            9 VOLT LLC                                        <T> 30-0
                                                            DBA HOPCAT                                               0
                                                            OPERATING                                                0
                                                            35 OAKES ST SW STE 400
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX4123
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           14,941.42 (31)    14,941.42 (26)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   American Express Settlement XXXXXX6973                                                               105.29
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 432.88
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 495.40
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 718.47
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                               1,215.79
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 706.30
                              11/04   Transfer From Coml Analysis Ck Account      4777                                                   2,733.37
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 286.33
                              11/05   Transfer From Coml Analysis Ck Account      4777                                                     996.22
                              11/06   American Express Settlement XXXXXX6973                                                                21.65
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 484.20
                              11/09   American Express Settlement XXXXXX6973                                                                55.13
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  71.40
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 473.09
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 479.18
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 637.95
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 285.87
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 288.93
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 343.51
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 661.61
                              11/17   American Express Settlement XXXXXX6973                                                                25.40
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 440.75
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 479.88
                              11/19   American Express Settlement XXXXXX6973                                                                22.39
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 333.16
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term               3                                 479.50
                              11/23   American Express Settlement XXXXXX6973                                                                33.90
                              11/23   Positive Solutio Ach Return 1122                                                                     333.72
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 524.95
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 756.38
                              11/27   Transfer From Coml Analysis Ck Account      4777                                                      18.82
                                            Case:20-01947-jwb         Doc #:455 Filed: 04/13/2021           Page 16 of 52
                                                                         9 VOLT LLC                              Page:            2 of 2
                                                                         DBA HOPCAT
                                                                         OPERAT NG                               Statement Date: 11/30/2020
                                                                         35 OAKES ST SW STE 400                  Primary Account: XXXXXX4123
                                                                         GRAND RAP DS, MI 49503




                              DEBITS
MGMCSTMTN 201201-09603-0002




                              Date Description                                                                                     Amount
                              11/02   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.               Hop                               72.91
                              11/02   Transfer To Coml Analysis Ck Account      4777                                               1,679.13
                              11/03   Imperial Beverag Fintecheft XX-XXX1129                                                         120.00
                              11/03   Transfer To Coml Analysis Ck Account      4777                                                 159.79
                              11/03   West Side Beer D Fintecheft XX-XXX1129                                                         169.00
                              11/03   Alliance Beverag Fintecheft XX-XXX1129                                                         767.00
                              11/04   Mthchgs Worldpay Merch Bankcard          Hopcat - Old                                        3,439.67
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard       Hopcat Grand Rapids - Ecomm                       324.72
                              11/05   Restaurant Techn Eft Draft                                                                     957.83
                              11/06   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.               Hop                               50.21
                              11/06   Transfer To Coml Analysis Ck Account      4777                                                 455.64
                              11/09   Transfer To Coml Analysis Ck Account      4777                                               1,078.80
                              11/10   Fintech.net Fintecheft XX-XXX1129                                                               37.32
                              11/10   Transfer To Coml Analysis Ck Account      4777                                                 600.63
                              11/13   Transfer To Coml Analysis Ck Account      4777                                                 285.87
                              11/16   Commercial Service Charge                                                                       91.62
                              11/16   Transfer To Coml Analysis Ck Account      4777                                               1,202.43
                              11/17   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.               Hop                               35.33
                              11/17   Transfer To Coml Analysis Ck Account      4777                                                 430.82
                              11/18   Transfer To Coml Analysis Ck Account      4777                                                 479.88
                              11/19   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.               Hop                               77.12
                              11/19   Transfer To Coml Analysis Ck Account      4777                                                 278.43
                              11/20   Transfer To Coml Analysis Ck Account      4777                                                 145.78
                              11/20   Support Positive Solutio 1/11/12-12/1/12                                                       333.72
                              11/23   Transfer To Coml Analysis Ck Account      4777                                               1,648.95
                              11/27   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            18.82

                              DAILY BALANCE
                                Date                 Balance            Date                      Balance    Date            Balance
                                 11/02                                  11/09                               11/18
                                 11/03                                  11/10                               11/19
                                 11/04                                  11/13                               11/20
                                 11/05                                  11/16                               11/23
                                 11/06                                  11/17                               11/27
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                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 11/30/2020
                                                                                                                            Primary Account: XXXXXX4115
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-09602-0001




                                                                                                                             E
                                                             50 AMP FUSE, LLC                                         <T> 30-0
                                                             DBA STELLA'S LOUNGE                                             0
                                                             OPERATING                                                       0
                                                             35 OAKES ST SW STE 400
                                                             GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX4115
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20               0.00                     11/30/20               0.00            3,997.07 (9)      3,997.07 (10)


                              CREDITS
                              Date Description                                                                                                    Amount
                              11/02   Transfer From Coml Analysis Ck Account                 4777                                                   307.60
                              11/03   Transfer From Coml Analysis Ck Account                 4777                                                   504.20
                              11/04   Transfer From Coml Analysis Ck Account                 4777                                                 2,311.02
                              11/06   Grubhub Inc Nov Actvty                                                                                        248.50
                              11/10   Transfer From Coml Analysis Ck Account                 4777                                                    37.32
                              11/16   Payment Alliance Eftransact 05-Xcvula                                                                          13.01
                              11/16   Transfer From Coml Analysis Ck Account                 4777                                                    73.66
                              11/20   Transfer From Coml Analysis Ck Account                 4777                                                   250.88
                              11/23   Positive Solutio Ach Return 1228                                                                              250.88

                              DEBITS
                              Date Description                                                                                                    Amount
                              11/02   West Side Beer D Fintecheft XX-XXX3684                                                                        307.60
                              11/03   Henry A. Fox Sal Fintecheft XX-XXX3684                                                                         95.00
                              11/03   Imperial Beverag Fintecheft XX-XXX3684                                                                        150.00
                              11/03   Alliance Beverag Fintecheft XX-XXX3684                                                                        259.20
                              11/04   Mthchgs Worldpay Merch Bankcard                   Stellas Lounge - Old                                      2,311.02
                              11/06   Transfer To Coml Analysis Ck Account               4777                                                       248.50
                              11/10   Fintech.net Fintecheft XX-XXX3684                                                                              37.32
                              11/16   Commercial Service Charge                                                                                      86.67
                              11/20   Support Positive Solutio 5/1/12-4/1/13                                                                        250.88
                              11/23   Transfer To Coml Analysis Ck Account               4777                                                       250.88

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 11/02                                          11/03                                    11/04
                                 11/06                                          11/16                                    11/23
                                 11/10                                          11/20
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                                                      Return Service Requested                                               Page:             1 of 1
                                                                                                                             Statement Date: 11/30/2020
                                                                                                                             Primary Account: XXXXXX4460
                                                                           07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-09784-0001




                                                                                                                              E
                                                              LUCK OF THE IRISH, LLC                                   <T> 30-0
                                                              DBA MCFADDENS RESTAURANT AND                                    0
                                                              SALOON                                                          0
                                                              35 OAKES ST SW STE 400
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX4460
                               Last Statement      Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20                0.00                     11/30/20               0.00             601.52 (5)        601.52 (5)


                              CREDITS
                              Date Description                                                                                                    Amount
                              11/04   Transfer From Coml Analysis Ck Account                  4777                                                   27.95
                              11/05   Worldpay Ach Return                                                                                            27.95
                              11/16   Transfer From Coml Analysis Ck Account                  4777                                                   67.30
                              11/20   Transfer From Coml Analysis Ck Account                  4777                                                  239.16
                              11/23   Positive Solutio Ach Return 1252                                                                              239.16

                              DEBITS
                              Date Description                                                                                                    Amount
                              11/04   Mthchgs Worldpay Merch Bankcard                    Mcfaddens Restaurant And Salo                               27.95
                              11/05   Transfer To Coml Analysis Ck Account                4777                                                       27.95
                              11/16   Commercial Service Charge                                                                                      67.30
                              11/20   Support Positive Solutio 11/1/11-10/1/12                                                                      239.16
                              11/23   Transfer To Coml Analysis Ck Account                4777                                                      239.16

                              DAILY BALANCE
                                Date                   Balance                   Date                  Balance            Date              Balance
                                 11/04                                           11/16                                    11/23
                                 11/05                                           11/20
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                                                      Return Service Requested                                               Page:             1 of 1
                                                                                                                             Statement Date: 11/30/2020
                                                                                                                             Primary Account: XXXXXX1069
                                                                           07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-09941-0001




                                                                                                                              E
                                                              GRBC HOLDINGS, LLC                                       <T> 30-0
                                                              DBA GRAND RAPIDS BREWING CO                                     0
                                                              35 OAKES ST SW STE 400                                          0
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX1069
                               Last Statement      Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20                0.00                     11/30/20               0.00            3,207.93 (6)      3,207.93 (6)


                              CREDITS
                              Date Description                                                                                                    Amount
                              11/04   Transfer From Coml Analysis Ck Account                  4777                                                2,018.74
                              11/06   Grubhub Inc Nov Actvty                                                                                        250.00
                              11/10   Transfer From Coml Analysis Ck Account                  4777                                                   37.32
                              11/16   Transfer From Coml Analysis Ck Account                  4777                                                   81.87
                              11/20   Transfer From Coml Analysis Ck Account                  4777                                                  410.00
                              11/23   Positive Solutio Ach Return 1336                                                                              410.00

                              DEBITS
                              Date Description                                                                                                    Amount
                              11/04   Mthchgs Worldpay Merch Bankcard             Grand Rapids Brewing Co                                         2,018.74
                              11/06   Transfer To Coml Analysis Ck Account         4777                                                             250.00
                              11/10   Fintech.net Fintecheft XX-XXX2130                                                                              37.32
                              11/16   Commercial Service Charge                                                                                      81.87
                              11/20   Support Positive Solutio $827.55 X 2 & 10payments $173.49 3/1/14-2/1/15                                       410.00
                              11/23   Transfer To Coml Analysis Ck Account         4777                                                             410.00

                              DAILY BALANCE
                                Date                   Balance                   Date                  Balance            Date              Balance
                                 11/04                                           11/10                                    11/20
                                 11/06                                           11/16                                    11/23
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                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX8171
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-10192-0001




                                                                                                                     E
                                                            EL BREWPUB, LLC                                   <T> 30-0
                                                            DBA HOPCAT EAST LANSING                                  0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX8171
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           18,324.10 (41)    18,324.10 (23)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   American Express Settlement XXXXXX6999                                                                42.45
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 408.09
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 458.00
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 713.56
                              11/03   American Express Settlement XXXXXX6999                                                                50.53
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 938.38
                              11/04   American Express Settlement XXXXXX6999                                                                28.90
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 782.80
                              11/04   Transfer From Coml Analysis Ck Account      4777                                                   2,565.10
                              11/05   Transfer From Coml Analysis Ck Account      4777                                                     415.39
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 449.54
                              11/06   American Express Settlement XXXXXX6999                                                                22.06
                              11/06   Grubhub Inc Oct Actvty                                                                                44.08
                              11/06   Grubhub Inc Nov Actvty                                                                               256.00
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 491.05
                              11/09   American Express Settlement XXXXXX6999                                                                25.78
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 254.40
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 536.81
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                               1,154.06
                              11/10   American Express Settlement XXXXXX6999                                                                18.31
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 708.36
                              11/12   American Express Settlement XXXXXX6999                                                                39.50
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 412.78
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 608.39
                              11/13   American Express Settlement XXXXXX6999                                                                53.96
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 356.39
                              11/16   American Express Settlement XXXXXX6999                                                                87.77
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 355.51
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 615.68
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 953.98
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 822.66
                              11/18   American Express Settlement XXXXXX6999                                                                27.77
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 601.02
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                                                                            EL BREWPUB, LLC                          Page:            2 of 2
                                                                            DBA HOPCAT EAST LANS NG
                                                                            35 OAKES ST SW STE 400                   Statement Date: 11/30/2020
                                                                            GRAND RAP DS, MI 49503                   Primary Account: XXXXXX8171




                              CREDITS (Continued)
MGMCSTMTN 201201-10192-0002




                              Date Description                                                                                         Amount
                              11/19   American Express Settlement XXXXXX6999                                                             29.88
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              313.15
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              273.13
                              11/20   Transfer From Coml Analysis Ck Account      4777                                                  349.87
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                               23.47
                              11/23   Positive Solutio Ach Return 1373                                                                  623.00
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              623.11
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              789.43

                              DEBITS
                              Date Description                                                                                         Amount
                              11/02   Comb. Exc. Worldpay Worldpay Comb. Exc.                       Hop                                   35.89
                              11/02   Transfer To Coml Analysis Ck Account         4777                                                1,586.21
                              11/03   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                    Hop                             103.35
                              11/03   Transfer To Coml Analysis Ck Account         4777                                                  390.16
                              11/03   Capitol Beverage Fintecheft XX-XXX5334                                                             495.40
                              11/04   Mthchgs Worldpay Merch Bankcard             Hopcat-East Lansing - Old                            3,376.80
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard           Hopcat East Lansing - Ecomm                       390.24
                              11/05   Restaurant Techn Eft Draft                                                                         474.69
                              11/06   Transfer To Coml Analysis Ck Account         4777                                                  813.19
                              11/09   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                    Hop                              34.98
                              11/09   Transfer To Coml Analysis Ck Account         4777                                                1,936.07
                              11/10   Fintech.net Fintecheft XX-XXX5334                                                                   37.32
                              11/10   Transfer To Coml Analysis Ck Account         4777                                                  689.35
                              11/12   Transfer To Coml Analysis Ck Account         4777                                                1,060.67
                              11/13   Comb. Exc. Worldpay Worldpay Comb. Exc.                       Hop                                   23.08
                              11/13   Transfer To Coml Analysis Ck Account         4777                                                  387.27
                              11/16   Commercial Service Charge                                                                           92.22
                              11/16   Transfer To Coml Analysis Ck Account         4777                                                1,920.72
                              11/17   Transfer To Coml Analysis Ck Account         4777                                                  822.66
                              11/18   Transfer To Coml Analysis Ck Account         4777                                                  628.79
                              11/19   Transfer To Coml Analysis Ck Account         4777                                                  343.03
                              11/20   Support Positive Solutio $1596.29 X 1 & $442.61 X 11                                               623.00
                              11/23   Transfer To Coml Analysis Ck Account         4777                                                2,059.01

                              DAILY BALANCE
                                Date                  Balance             Date                  Balance          Date            Balance
                                 11/02                                    11/09                                  11/17
                                 11/03                                    11/10                                  11/18
                                 11/04                                    11/12                                  11/19
                                 11/05                                    11/13                                  11/20
                                 11/06                                    11/16                                  11/23
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                                                                          HOPCAT- NDIANAPOLIS, LLC                Page:            2 of 2
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503                  Statement Date: 11/30/2020
                                                                                                                  Primary Account: XXXXXX3840




                              CREDITS (Continued)
MGMCSTMTN 201201-16433-0002




                              Date Description                                                                                      Amount
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            93.03
                              11/20   Transfer From Coml Analysis Ck Account      4777                                               459.97
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            36.86
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                           176.67
                              11/23   Positive Solutio Ach Return                                                                    553.00

                              DEBITS
                              Date Description                                                                                      Amount
                              11/02   Craftroads Bever Fintecheft XX-XXX7970                                                           80.00
                              11/02   Comb. Exc. Worldpay Worldpay Comb. Exc.                   Hop                                   110.00
                              11/02   Transfer To Coml Analysis Ck Account     4777                                                   573.15
                              11/03   Black Acre Brewi Fintecheft XX-XXX7970                                                          205.00
                              11/04   South Broad Ripp Fintecheft XX-XXX7970                                                          175.00
                              11/04   Pax Verum Brewin Fintecheft XX-XXX7970                                                          530.00
                              11/04   Mthchgs Worldpay Merch Bankcard         Hopcat Indianapolis                                   2,405.01
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard      Hopcat Indianapolis - Ecomm -                       140.47
                              11/05   Restaurant Techn Eft Draft                                                                      967.85
                              11/06   Transfer To Coml Analysis Ck Account     4777                                                   468.10
                              11/09   Transfer To Coml Analysis Ck Account     4777                                                   664.99
                              11/10   Fintech.net Fintecheft XX-XXX7970                                                                37.32
                              11/10   Transfer To Coml Analysis Ck Account     4777                                                    49.24
                              11/12   Southern Glazer' Fintecheft XX-XXX7970                                                        1,540.12
                              11/13   Transfer To Coml Analysis Ck Account     4777                                                   257.45
                              11/16   Commercial Service Charge                                                                        93.70
                              11/16   Transfer To Coml Analysis Ck Account     4777                                                   802.58
                              11/17   Transfer To Coml Analysis Ck Account     4777                                                   244.63
                              11/18   Transfer To Coml Analysis Ck Account     4777                                                    93.98
                              11/19   Intax In Fab Tax                                                                              3,015.24
                              11/19   Intax In Sales/Use Tax                                                                       10,595.27
                              11/20   Positive Solutio Support                                                                        553.00
                              11/23   Transfer To Coml Analysis Ck Account     4777                                                   766.53

                              DAILY BALANCE
                                Date                  Balance            Date                  Balance        Date            Balance
                                 11/02                                  11/09                                 11/17
                                 11/03                                  11/10                                 11/18
                                 11/04                                  11/12                                 11/19
                                 11/05                                  11/13                                 11/20
                                 11/06                                  11/16                                 11/23
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                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX3859
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-16434-0001




                                                                                                                     E
                                                            HOPCAT-DETROIT, LLC                               <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX3859
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           13,145.76 (40)    13,145.76 (20)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   American Express Settlement XXXXXX9489                                                                30.89
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 316.11
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 345.90
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 606.92
                              11/03   American Express Settlement XXXXXX9489                                                                27.76
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 409.73
                              11/04   American Express Settlement XXXXXX9489                                                                17.39
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 453.75
                              11/04   Transfer From Coml Analysis Ck Account      4777                                                   2,065.39
                              11/05   American Express Settlement XXXXXX9489                                                                16.44
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 402.45
                              11/06   Grubhub Inc Oct Actvty XXXXXX0176AOKEB                                                               125.85
                              11/06   Grubhub Inc Nov Actvty XXXXXX0476AOKEB                                                               250.00
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 505.31
                              11/09   American Express Settlement XXXXXX9489                                                                12.62
                              11/09   American Express Settlement XXXXXX9489                                                                14.93
                              11/09   American Express Settlement XXXXXX9489                                                                69.01
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 198.81
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 345.02
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 571.87
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 325.21
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 244.61
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 253.91
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 223.81
                              11/16   American Express Settlement XXXXXX9489                                                                79.80
                              11/16   American Express Settlement XXXXXX9489                                                               130.50
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 197.51
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 222.36
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 589.83
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 596.63
                              11/18   American Express Settlement XXXXXX9489                                                                28.00
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 258.47
                              11/19   American Express Settlement XXXXXX9489                                                                30.65
                                             Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021               Page 25 of 52
                                                                               HOPCAT-DETROIT, LLC                   Page:            2 of 2
                                                                               35 OAKES ST SW STE 400
                                                                               GRAND RAP DS, MI 49503                Statement Date: 11/30/2020
                                                                                                                     Primary Account: XXXXXX3859




                              CREDITS (Continued)
MGMCSTMTN 201201-16434-0002




                              Date Description                                                                                         Amount
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              321.34
                              11/20   American Express Settlement XXXXXX9489                                                             18.79
                              11/20   Transfer From Coml Analysis Ck Account      4777                                                  327.00
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              435.04
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              596.98
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              698.34
                              11/23   Positive Solutio Ach Return                                                                       780.83

                              DEBITS
                              Date Description                                                                                         Amount
                              11/02   Intl Bancard Ach                                                                                    12.50
                              11/02   M4 C.i.c, Llc Fintecheft XX-XXX8519                                                                310.00
                              11/02   Transfer To Coml Analysis Ck Account           4777                                                977.32
                              11/03   Transfer To Coml Analysis Ck Account           4777                                                437.49
                              11/04   Mthchgs Worldpay Merch Bankcard               Hopcat- Detroit - Old                              2,536.53
                              11/05   Transfer To Coml Analysis Ck Account           4777                                                121.71
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard            Hopcat Detroit - Ecomm                           297.18
                              11/06   Transfer To Coml Analysis Ck Account           4777                                                881.16
                              11/09   Transfer To Coml Analysis Ck Account           4777                                              1,212.26
                              11/10   Fintech.net Fintecheft XX-XXX8519                                                                   37.32
                              11/10   Transfer To Coml Analysis Ck Account            4777                                               287.89
                              11/12   Transfer To Coml Analysis Ck Account            4777                                               498.52
                              11/13   Transfer To Coml Analysis Ck Account            4777                                               223.81
                              11/16   Commercial Service Charge                                                                           92.67
                              11/16   Transfer To Coml Analysis Ck Account            4777                                             1,127.33
                              11/17   Transfer To Coml Analysis Ck Account            4777                                               596.63
                              11/18   Transfer To Coml Analysis Ck Account            4777                                               286.47
                              11/19   Transfer To Coml Analysis Ck Account            4777                                               351.99
                              11/20   Positive Solutio Support                                                                           780.83
                              11/23   Transfer To Coml Analysis Ck Account            4777                                             2,076.15

                              DAILY BALANCE
                                Date                  Balance             Date                          Balance   Date            Balance
                                 11/02                                    11/09                                   11/17
                                 11/03                                    11/10                                   11/18
                                 11/04                                    11/12                                   11/19
                                 11/05                                    11/13                                   11/20
                                 11/06                                    11/16                                   11/23
                                             Case:20-01947-jwb             Doc #:455 Filed: 04/13/2021          Page 26 of 52

                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX3877
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-16435-0001




                                                                                                                     E
                                                            HOPCAT-ANN ARBOR LLC                              <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX3877
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           12,985.71 (38)    12,985.71 (19)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  52.67
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 423.70
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 125.42
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 351.75
                              11/04   Transfer From Coml Analysis Ck Account      4777                                                   2,475.93
                              11/05   Transfer From Coml Analysis Ck Account      4777                                                      10.62
                              11/05   American Express Settlement XXXXXX3218                                                                11.10
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 268.52
                              11/06   American Express Settlement XXXXXX3218                                                                13.51
                              11/06   Grubhub Inc Oct Actvty                                                                                22.72
                              11/06   Grubhub Inc Nov Actvty                                                                               244.00
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 463.21
                              11/09   American Express Settlement XXXXXX3218                                                                15.28
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 248.88
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 453.99
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 584.87
                              11/10   American Express Settlement XXXXXX3218                                                                36.73
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 685.70
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 247.95
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 351.03
                              11/13   American Express Settlement XXXXXX3218                                                                31.74
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 270.30
                              11/16   American Express Settlement XXXXXX3218                                                                44.98
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 457.99
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 627.74
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 705.28
                              11/17   American Express Settlement XXXXXX3218                                                                52.40
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 612.04
                              11/18   American Express Settlement XXXXXX3218                                                                10.58
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 295.44
                              11/19   American Express Settlement XXXXXX3218                                                                25.34
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 253.81
                              11/20   American Express Settlement XXXXXX3218                                                               143.59
                                            Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021              Page 27 of 52
                                                                           HOPCAT-ANN ARBOR LLC                    Page:            2 of 2
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503                  Statement Date: 11/30/2020
                                                                                                                   Primary Account: XXXXXX3877




                              CREDITS (Continued)
MGMCSTMTN 201201-16435-0002




                              Date Description                                                                                       Amount
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            454.69
                              11/23   American Express Settlement XXXXXX3218                                                           37.33
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            482.50
                              11/23   Positive Solutio Ach Return                                                                     580.83
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            811.55

                              DEBITS
                              Date Description                                                                                       Amount
                              11/02   Transfer To Coml Analysis Ck Account        4777                                                 476.37
                              11/03   Transfer To Coml Analysis Ck Account        4777                                                   5.42
                              11/03   Imperial Beverag Fintecheft XX-XXX5229                                                           120.00
                              11/04   Mthchgs Worldpay Merch Bankcard            Hopcat- Ann Arbor - Old                             2,827.68
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard 2691544 Hopcat Ann Arbor - Ecomm                          290.24
                              11/06   Transfer To Coml Analysis Ck Account        4777                                                 743.44
                              11/09   Transfer To Coml Analysis Ck Account        4777                                               1,303.02
                              11/10   Fintech.net Fintecheft XX-XXX5229                                                                 37.32
                              11/10   Transfer To Coml Analysis Ck Account        4777                                                 685.11
                              11/12   Transfer To Coml Analysis Ck Account        4777                                                 598.98
                              11/13   Transfer To Coml Analysis Ck Account        4777                                                 302.04
                              11/16   Commercial Service Charge                                                                         92.67
                              11/16   Transfer To Coml Analysis Ck Account        4777                                               1,743.32
                              11/17   Transfer To Coml Analysis Ck Account        4777                                                 664.44
                              11/18   Transfer To Coml Analysis Ck Account        4777                                                 306.02
                              11/19   Transfer To Coml Analysis Ck Account        4777                                                 279.15
                              11/20   Transfer To Coml Analysis Ck Account        4777                                                  17.45
                              11/20   Positive Solutio Support                                                                         580.83
                              11/23   Transfer To Coml Analysis Ck Account        4777                                               1,912.21

                              DAILY BALANCE
                                Date                  Balance            Date                       Balance     Date            Balance
                                 11/02                                   11/09                                  11/17
                                 11/03                                   11/10                                  11/18
                                 11/04                                   11/12                                  11/19
                                 11/05                                   11/13                                  11/20
                                 11/06                                   11/16                                  11/23
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                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 11/30/2020
                                                                                                                            Primary Account: XXXXXX8215
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-16281-0001




                                                                                                                             E
                                                             HOPCAT-MADISON, LLC                                      <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX8215
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20               0.00                     11/30/20               0.00             215.49 (6)        215.49 (7)


                              CREDITS
                              Date Description                                                                                                   Amount
                              11/04   Transfer From Coml Analysis Ck Account                 4777                                                    27.95
                              11/05   Worldpay Ach Return                                                                                            27.95
                              11/06   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              11/10   Transfer From Coml Analysis Ck Account                 4777                                                    37.32
                              11/12   Fintech.net Ach Return                                                                                         37.32
                              11/16   Transfer From Coml Analysis Ck Account                 4777                                                    67.45

                              DEBITS
                              Date Description                                                                                                   Amount
                              11/04   Mthchgs Worldpay Merch Bankcard                   Hopcat - Madison                                             27.95
                              11/05   Transfer To Coml Analysis Ck Account               4777                                                        10.45
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Madison - Ecomm                                   17.50
                              11/06   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              11/10   Fintech.net Fintecheft XX-XXX9108                                                                              37.32
                              11/12   Transfer To Coml Analysis Ck Account              4777                                                         37.32
                              11/16   Commercial Service Charge                                                                                      67.45

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 11/04                                          11/06                                    11/12
                                 11/05                                          11/10                                    11/16
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                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 11/30/2020
                                                                                                                            Primary Account: XXXXXX5216
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-16350-0001




                                                                                                                             E
                                                             HOPCAT-LEXINGTON, LLC                                    <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX5216
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20               0.00                     11/30/20               0.00             141.00 (4)        141.00 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              11/04   Transfer From Coml Analysis Ck Account                 4777                                                    27.95
                              11/05   Worldpay Ach Return                                                                                            27.95
                              11/06   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              11/16   Transfer From Coml Analysis Ck Account                 4777                                                    67.60

                              DEBITS
                              Date Description                                                                                                   Amount
                              11/04   Mthchgs Worldpay Merch Bankcard                   Hopcat Lexington                                             27.95
                              11/05   Transfer To Coml Analysis Ck Account               4777                                                        10.45
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Lexington - Ecomm                                 17.50
                              11/06   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              11/16   Commercial Service Charge                                                                                      67.60

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 11/04                                          11/06
                                 11/05                                          11/16
                                             Case:20-01947-jwb             Doc #:455 Filed: 04/13/2021          Page 30 of 52

                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX0830
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-16620-0001




                                                                                                                     E
                                                            HOPCAT-LINCOLN, LLC                               <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX0830
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           20,357.09 (29)    20,357.09 (18)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 247.69
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 263.33
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 425.28
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 309.22
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 215.73
                              11/04   Transfer From Coml Analysis Ck Account      4777                                                   2,413.14
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 131.22
                              11/05   Transfer From Coml Analysis Ck Account      4777                                                   1,221.84
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  88.44
                              11/06   Grubhub Inc Nov Actvty XXXXX604-2dptzv                                                               248.71
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 227.95
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 332.28
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 483.13
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 123.24
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 185.92
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 482.55
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 206.97
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 317.82
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 397.99
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 476.34
                              11/17   American Express Settlement XXXXXX6034                                                                46.34
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 217.74
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 231.47
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 163.92
                              11/19   Transfer From Coml Analysis Ck Account      4777                                                  10,388.43
                              11/20   Transfer From Coml Analysis Ck Account      4777                                                       7.43
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 184.23
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 127.08
                              11/23   Positive Solutio Ach Return                                                                          191.66
                                             Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021               Page 31 of 52
                                                                               HOPCAT-LINCOLN, LLC                   Page:            2 of 2
                                                                               35 OAKES ST SW STE 400
                                                                               GRAND RAP DS, MI 49503                Statement Date: 11/30/2020
                                                                                                                     Primary Account: XXXXXX0830




                              DEBITS
MGMCSTMTN 201201-16620-0002




                              Date Description                                                                                         Amount
                              11/02   Transfer To Coml Analysis Ck Account           4777                                                936.30
                              11/03   Transfer To Coml Analysis Ck Account           4777                                                309.22
                              11/04   Mthchgs Worldpay Merch Bankcard               Hopcat Lincoln - Old                               2,628.87
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard            Hopcat Lincoln - Ecomm                           149.66
                              11/05   Restaurant Techn Eft Draft                                                                       1,203.40
                              11/06   Transfer To Coml Analysis Ck Account            4777                                               337.15
                              11/09   Transfer To Coml Analysis Ck Account            4777                                             1,043.36
                              11/10   Fintech.net Fintecheft XX-XXX2999                                                                   37.32
                              11/10   Transfer To Coml Analysis Ck Account            4777                                                85.92
                              11/12   Transfer To Coml Analysis Ck Account            4777                                               668.47
                              11/13   Transfer To Coml Analysis Ck Account            4777                                               206.97
                              11/16   Commercial Service Charge                                                                           91.00
                              11/16   Transfer To Coml Analysis Ck Account            4777                                             1,101.15
                              11/17   Transfer To Coml Analysis Ck Account            4777                                               264.08
                              11/18   Transfer To Coml Analysis Ck Account            4777                                               231.47
                              11/19   Nbf Bus Tx Neb Dept Revenue Txp*                                                    *           10,552.35
                              11/20   Support Positive Solutio $490 X 12                                                                 191.66
                              11/23   Transfer To Coml Analysis Ck Account            4777                                               318.74

                              DAILY BALANCE
                                Date                  Balance             Date                          Balance   Date            Balance
                                 11/02                                    11/09                                   11/17
                                 11/03                                    11/10                                   11/18
                                 11/04                                    11/12                                   11/19
                                 11/05                                    11/13                                   11/20
                                 11/06                                    11/16                                   11/23
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                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX9227
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-17274-0001




                                                                                                                     E
                                                            HOPCAT - KALAMAZOO, LLC                           <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX9227
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           16,813.01 (28)    16,813.01 (21)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         340.02
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         347.74
                              11/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,274.76
                              11/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         763.23
                              11/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         916.48
                              11/04   Transfer From Coml Analysis Ck Account     4777                                                    2,967.85
                              11/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         460.12
                              11/06   Grubhub Inc Oct Actvty                                                                                30.34
                              11/06   Grubhub Inc Nov Actvty                                                                               249.14
                              11/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         634.51
                              11/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         274.80
                              11/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         518.02
                              11/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         838.99
                              11/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         864.73
                              11/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         213.30
                              11/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         637.40
                              11/13   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         363.83
                              11/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         326.72
                              11/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         335.73
                              11/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,053.21
                              11/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         466.33
                              11/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         469.10
                              11/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         444.11
                              11/20   Transfer From Coml Analysis Ck Account     4777                                                      231.36
                              11/20   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         342.14
                              11/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          12.99
                              11/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         596.18
                              11/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         839.88
                                            Case:20-01947-jwb         Doc #:455 Filed: 04/13/2021         Page 33 of 52
                                                                         HOPCAT - KALAMAZOO, LLC             Page:            2 of 2
                                                                         35 OAKES ST SW STE 400
                                                                         GRAND RAP DS, MI 49503              Statement Date: 11/30/2020
                                                                                                             Primary Account: XXXXXX9227




                              DEBITS
MGMCSTMTN 201201-17274-0002




                              Date Description                                                                                 Amount
                              11/02   Alliance Beverag Fintecheft XX-XXX8992                                                     188.00
                              11/02   Transfer To Coml Analysis Ck Account     4777                                            1,774.52
                              11/03   Imperial Beverag Fintecheft XX-XXX8992                                                     194.00
                              11/03   Transfer To Coml Analysis Ck Account     4777                                              569.23
                              11/04   Mthchgs Worldpay Merch Bankcard         Hopcat Kalamazoo 2 - Ecom                          345.07
                              11/04   Mthchgs Worldpay Merch Bankcard         Hopcat - Kalamazoo - Old                         3,539.26
                              11/05   Transfer To Coml Analysis Ck Account     4777                                              460.12
                              11/06   Transfer To Coml Analysis Ck Account     4777                                              913.99
                              11/09   Transfer To Coml Analysis Ck Account     4777                                            1,631.81
                              11/10   Fintech.net Fintecheft XX-XXX8992                                                           37.32
                              11/10   Transfer To Coml Analysis Ck Account     4777                                              827.41
                              11/12   Transfer To Coml Analysis Ck Account     4777                                              850.70
                              11/13   Transfer To Coml Analysis Ck Account     4777                                              363.83
                              11/16   Commercial Service Charge                                                                   42.07
                              11/16   Comb. Exc. Worldpay Worldpay Comb. Exc.                  Hop                                85.17
                              11/16   Transfer To Coml Analysis Ck Account     4777                                            1,588.42
                              11/17   Transfer To Coml Analysis Ck Account     4777                                              466.33
                              11/18   Transfer To Coml Analysis Ck Account     4777                                              469.10
                              11/19   Transfer To Coml Analysis Ck Account     4777                                              444.11
                              11/20   Positive Solutio Support                                                                   573.50
                              11/23   Transfer To Coml Analysis Ck Account     4777                                            1,449.05

                              DAILY BALANCE
                                Date                 Balance            Date                  Balance     Date            Balance
                                 11/02                                 11/09                              11/17
                                 11/03                                 11/10                              11/18
                                 11/04                                 11/12                              11/19
                                 11/05                                 11/13                              11/20
                                 11/06                                 11/16                              11/23
                                             Case:20-01947-jwb              Doc #:455 Filed: 04/13/2021                 Page 34 of 52

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 11/30/2020
                                                                                                                            Primary Account: XXXXXX8664
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-18024-0001




                                                                                                                             E
                                                             HOPCAT-MINNEAPOLIS, LLC                                  <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX8664
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  10/30/20               0.00                     11/30/20               0.00             200.70 (4)        200.70 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              11/04   Transfer From Coml Analysis Ck Account                 4777                                                    57.95
                              11/05   Worldpay Ach Return                                                                                            57.95
                              11/06   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              11/16   Transfer From Coml Analysis Ck Account                 4777                                                    67.30

                              DEBITS
                              Date Description                                                                                                   Amount
                              11/04   Mthchgs Worldpay Merch Bankcard                   Hopcat Minny                                                 57.95
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Minneapolis                                       17.50
                              11/05   Transfer To Coml Analysis Ck Account               4777                                                        40.45
                              11/06   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              11/16   Commercial Service Charge                                                                                      67.30

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 11/04                                          11/06
                                 11/05                                          11/16
Case:20-01947-jwb   Doc #:455 Filed: 04/13/2021   Page 35 of 52
                                            Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021           Page 36 of 52
                                                                          HOPCAT - GR BELTLINE, LLC                Page:            2 of 2
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503                   Statement Date: 11/30/2020
                                                                                                                   Primary Account: XXXXXX0488




                              CREDITS (Continued)
MGMCSTMTN 201201-19299-0002




                              Date Description                                                                                       Amount
                              11/17   American Express Settlement XXXXXX9205                                                            81.11
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                           1,146.27
                              11/18   American Express Settlement XXXXXX9205                                                            32.27
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                           1,084.62
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                             982.82
                              11/20   American Express Settlement XXXXXX9205                                                           159.78
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                             799.33
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                              12.72
                              11/23   American Express Settlement XXXXXX9205                                                            44.27
                              11/23   Positive Solutio Ach Return                                                                      449.16
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                           1,011.96

                              DEBITS
                              Date Description                                                                                       Amount
                              11/02   West Side Beer D Fintecheft XX-XXX6994                                                           378.00
                              11/02   Transfer To Coml Analysis Ck Account       4777                                                2,882.77
                              11/03   Transfer To Coml Analysis Ck Account       4777                                                   40.54
                              11/03   Imperial Beverag Fintecheft XX-XXX6994                                                           150.00
                              11/03   Alliance Beverag Fintecheft XX-XXX6994                                                           369.00
                              11/04   Mthchgs Worldpay Merch Bankcard           Hopcat Beltline - Old                                3,784.26
                              11/05   Transfer To Coml Analysis Ck Account       4777                                                  330.78
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard        Hopcat Knapps Corner - Ecomm                       613.65
                              11/06   Transfer To Coml Analysis Ck Account       4777                                                  981.79
                              11/09   Transfer To Coml Analysis Ck Account       4777                                                3,257.76
                              11/10   Fintech.net Fintecheft XX-XXX6994                                                                 37.32
                              11/10   Transfer To Coml Analysis Ck Account       4777                                                  664.69
                              11/12   Transfer To Coml Analysis Ck Account       4777                                                2,179.44
                              11/13   Transfer To Coml Analysis Ck Account       4777                                                1,033.15
                              11/16   Commercial Service Charge                                                                         92.67
                              11/16   Transfer To Coml Analysis Ck Account       4777                                                4,373.17
                              11/17   Transfer To Coml Analysis Ck Account       4777                                                1,227.38
                              11/18   Transfer To Coml Analysis Ck Account       4777                                                1,116.89
                              11/19   Transfer To Coml Analysis Ck Account       4777                                                  982.82
                              11/20   Positive Solutio Support                                                                         449.16
                              11/20   Transfer To Coml Analysis Ck Account       4777                                                  509.95
                              11/23   Transfer To Coml Analysis Ck Account       4777                                                1,518.11

                              DAILY BALANCE
                                Date                  Balance            Date                   Balance       Date             Balance
                                 11/02                                  11/09                                11/17
                                 11/03                                  11/10                                11/18
                                 11/04                                  11/12                                11/19
                                 11/05                                  11/13                                11/20
                                 11/06                                  11/16                                11/23
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                                                    Return Service Requested                                        Page:             1 of 2
                                                                                                                    Statement Date: 11/30/2020
                                                                                                                    Primary Account: XXXXXX0451
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-19298-0001




                                                                                                                     E
                                                            HOPCAT - HOLLAND, LLC                             <T> 30-0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX0451
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20              0.00                     11/30/20        0.00           11,168.42 (37)    11,168.42 (19)


                              CREDITS
                              Date Description                                                                                           Amount
                              11/02   American Express Settlement XXXXXX2107                                                                42.43
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 120.85
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 249.42
                              11/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 477.27
                              11/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 302.64
                              11/03   Transfer From Coml Analysis Ck Account      4777                                                   2,103.37
                              11/04   American Express Settlement XXXXXX2107                                                                63.30
                              11/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 303.51
                              11/05   American Express Settlement XXXXXX2107                                                                10.98
                              11/05   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 307.33
                              11/06   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 237.85
                              11/06   Grubhub Inc Nov Actvty                                                                               250.00
                              11/09   American Express Settlement XXXXXX2107                                                                10.64
                              11/09   American Express Settlement XXXXXX2107                                                                21.38
                              11/09   American Express Settlement XXXXXX2107                                                               126.82
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 275.57
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 742.65
                              11/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 769.84
                              11/10   American Express Settlement XXXXXX2107                                                                24.46
                              11/10   Transfer From Coml Analysis Ck Account      4777                                                     170.79
                              11/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 470.56
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  57.78
                              11/12   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                  61.75
                              11/12   American Express Settlement XXXXXX2107                                                                71.45
                              11/13   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 277.26
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 183.03
                              11/16   American Express Settlement XXXXXX2107                                                               211.35
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 539.79
                              11/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 688.55
                              11/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 279.36
                              11/18   American Express Settlement XXXXXX2107                                                                25.73
                              11/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 244.77
                              11/19   American Express Settlement XXXXXX2107                                                                18.86
                                            Case:20-01947-jwb          Doc #:455 Filed: 04/13/2021            Page 38 of 52
                                                                           HOPCAT - HOLLAND, LLC                   Page:            2 of 2
                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503                  Statement Date: 11/30/2020
                                                                                                                   Primary Account: XXXXXX0451




                              CREDITS (Continued)
MGMCSTMTN 201201-19298-0002




                              Date Description                                                                                       Amount
                              11/19   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            179.48
                              11/20   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            598.17
                              11/23   American Express Settlement XXXXXX2107                                                           69.09
                              11/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                            580.34

                              DEBITS
                              Date Description                                                                                       Amount
                              11/02   Transfer To Coml Analysis Ck Account       4777                                                  889.97
                              11/03   Alliance Beverag Fintecheft XX-XXX7132                                                           429.00
                              11/03   Cred Fees 5/3 Bankcard Sys 5/3 Bankcard Cred Fees                 Hop                          1,977.01
                              11/04   Transfer To Coml Analysis Ck Account       4777                                                  366.81
                              11/05   Transfer To Coml Analysis Ck Account       4777                                                   97.85
                              11/05   Billng Vantiv_intg_pymt Merch Bankcard        Hopcat Holland - Ecomm - Old                       220.46
                              11/06   Transfer To Coml Analysis Ck Account       4777                                                  487.85
                              11/09   Transfer To Coml Analysis Ck Account       4777                                                1,946.90
                              11/10   Fintech.net Fintecheft XX-XXX7132                                                                 37.32
                              11/10   Fifth Third Ach Mps Billng                                                                       628.49
                              11/12   Transfer To Coml Analysis Ck Account       4777                                                  190.98
                              11/13   Transfer To Coml Analysis Ck Account       4777                                                  277.26
                              11/16   Commercial Service Charge                                                                         89.37
                              11/16   Transfer To Coml Analysis Ck Account       4777                                                1,533.35
                              11/17   Transfer To Coml Analysis Ck Account       4777                                                  279.36
                              11/18   Transfer To Coml Analysis Ck Account       4777                                                  270.50
                              11/19   Transfer To Coml Analysis Ck Account       4777                                                  198.34
                              11/20   Transfer To Coml Analysis Ck Account       4777                                                  598.17
                              11/23   Transfer To Coml Analysis Ck Account       4777                                                  649.43

                              DAILY BALANCE
                                Date                  Balance            Date                       Balance    Date            Balance
                                 11/02                                   11/09                                 11/17
                                 11/03                                   11/10                                 11/18
                                 11/04                                   11/12                                 11/19
                                 11/05                                   11/13                                 11/20
                                 11/06                                   11/16                                 11/23
                                             Case:20-01947-jwb            Doc #:455 Filed: 04/13/2021          Page 39 of 52

                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 11/30/2020
                                                                                                                   Primary Account: XXXXXX4153
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-19378-0001




                                                                                                                    E
                                                           BARFLY VENTURES, LLC                              <T> 30-0
                                                           BARFLY SITE CHECKING                                     0
                                                           35 OAKES ST SW STE 400                                   0
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                        Account: XXXXXX4153
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  10/30/20           4,005.27                   11/30/20      3,989.27             0.00             16.00 (1)


                              DEBITS
                              Date Description                                                                                           Amount
                              11/16 Commercial Service Charge                                                                               16.00

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 11/16              3,989.27
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                                                      Return Service Requested                                         Page:             1 of 1
                                                                                                                       Statement Date: 11/30/2020
                                                                                                                       Primary Account: XXXXXX6311
                                                                           07001
                                                                                                                       Documents:       0

                                                                                                                       Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-19406-0001




                                                                                                                       E
                                                              BARFLY VENTURES, LLC                              <T> 30-0
                                                              35 OAKES ST SW STE 400                                   0
                                                              GRAND RAPIDS, MI 49503                                   0




                               BUSINESS MONEY MARKET ACCOUNT                                                                Account: XXXXXX6311
                                Last Statement    Previous Balance          This Statement    Current Balance     Total Credits       Total Debits
                                   10/30/20              324.02                    11/30/20       312.03             0.01 (1)           12.00 (1)


                              Minimum Balance                                       324.02
                              Avg Available Balance                                 324.02
                              Average Balance                                       324.02

                               CREDITS
                              Date Description                                                                                               Amount
                              11/30 Interest                                                                                                        0.01

                               DEBITS
                              Date Description                                                                                               Amount
                              11/30 Service Charge                                                                                              12.00

                               INTEREST
                               Average Ledger Balance:                               324.02       Interest Earned:                                    .01
                               Average Available Balance:                            324.02       Days In Period:                                      31
                               Interest Paid This Period:                               .01       Annual Percentage Yield Earned:                   .04%
                               Interest Paid 2020:                                   889.00

                               ITEMIZATION OF SERVICE CHARGE PAID THIS PERIOD
                                                            Total Charge For Maintenance Fee:                       12.00

                               DAILY BALANCE
                                 Date                  Balance                   Date           Balance            Date               Balance
                                  11/30                  312.03
                                              Case:20-01947-jwb              Doc #:455 Filed: 04/13/2021           Page 42 of 52

                                                      Return Service Requested                                          Page:             1 of 1
                                                                                                                        Statement Date: 11/30/2020
                                                                                                                        Primary Account: XXXXXX6926
                                                                           07001
                                                                                                                        Documents:       0

                                                                                                                        Period: 10/30/20 to 11/30/20
MGMCSTMTN 201201-21444-0001




                                                                                                                        E
                                                              BARFLY VENTURES, LLC                               <T> 30-0
                                                              35 OAKES ST SW STE 400                                    0
                                                              GRAND RAPIDS, MI 49503                                    0




                               BUSINESS MONEY MARKET ACCOUNT                                                                Account: XXXXXX6926
                                Last Statement    Previous Balance          This Statement     Current Balance     Total Credits       Total Debits
                                   10/30/20            30,025.80                   11/30/20      30,027.08            1.28 (1)            0.00


                              Minimum Balance                                    30,025.80
                              Avg Available Balance                              30,025.80
                              Average Balance                                    30,025.80

                               CREDITS
                              Date Description                                                                                               Amount
                              11/30 Interest                                                                                                     1.28

                               INTEREST
                               Average Ledger Balance:                             30,025.80       Interest Earned:                               1.28
                               Average Available Balance:                          30,025.80       Days In Period:                                  31
                               Interest Paid This Period:                               1.28       Annual Percentage Yield Earned:               .05%
                               Interest Paid 2020:                                     22.15

                               DAILY BALANCE
                                 Date                  Balance                   Date            Balance            Date               Balance
                                  11/30               30,027.08
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      BARFLY VENTURES, LLC                                                                   Page 2 of 2
      November 30, 2020                                                                    XXXXXX7488




OVERDRAFT/RETURN ITEM FEES

                                                           Total for                      Total
                                                         this period               year-to-date

         Total Overdraft Fees                                    $0.00                       $0.00

         Total Returned Item Fees                                $0.00                       $0.00




                                    Thank you for banking with TCF National Bank
3/5/2021                   Case:20-01947-jwb             Doc #:455    Filed:
                                                                 Activity       04/13/2021
                                                                          - Deposit Accounts           Page 49 of 52




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:38:30 AM (ET)
   Account:             072410013 • *5554 • Checking • COMMERCIAL CHECKING
   Date range:          11/1/2020 to 11/30/2020
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5554 • Checking • COMMERCIAL CHECKING
                                    Additional                                                                                         Calculated
    Post Date    Reference                        Description                                                    Debit        Credit
                                    Reference                                                                                            Balance
    11/18/2020                      123           CHECK PAID                                                   $40.98                  $14,168.41
                                                  ACCOUNT ANALYSIS FEE
    11/17/2020                                                                                                 $62.45                  $14,209.39
                                                  ANALYSIS ACTIVITY FOR 10/20
                 BARFLY                           PREAUTHORIZED ACH DEBIT
    11/17/2020                                                                                            $365,000.00                  $14,271.84
                 VENTURES FE                      BARFLY VENTURES FEES 201117
                                                  BOOK TRANSFER CREDIT
    11/16/2020                                    REF         FUNDS TRANSFER FRMDEP                                      $365,000.00 $379,271.84
                                                  XXXXXX7488 FROM
    11/13/2020                      122           CHECK PAID                                                $3,304.35                  $14,271.84
               BARFLY                             PREAUTHORIZED ACH DEBIT
    11/09/2020                                                                                            $290,265.76                  $17,576.19
               VENTURES FE                        BARFLY VENTURES FEES 201109
                                                  BOOK TRANSFER CREDIT
    11/09/2020                                    REF         FUNDS TRANSFER FRMDEP                                        $9,828.06 $307,841.95
                                                  XXXXXX5015 FROM
                                                  BOOK TRANSFER CREDIT
    11/06/2020                                    REF        FUNDS TRANSFER FRMDEP                                       $250,000.00 $298,013.89
                                                  XXXXXX7488 FROM PROFE SSIONAL FEES
    11/30/2020 Totals                                                                                     $658,673.54 $624,828.06




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                               1/1
             Case:20-01947-jwb                  Doc #:455 Filed: 04/13/2021           Page 50 of 52




                                                                                   Last statement: October 31, 2020
                                                                                   This statement: November 30, 2020
                                                                                   Total days in statement period: 30
 BARFLY VENTURES, LLC
 35 OAKES ST SW SUITE 400                                                          Page 1 of 2
 GRAND RAPIDS MI 49503-3137                                                        XXXXXX7488
                                                                                   ( 0)

                                                                                   Direct inquiries to:
                                                                                   1-800-823-2265

                                                                                   TCF National Bank
                                                                                   PO Box 190
                                                                                   Minneapolis, MN 55440-0190




         THANK      YOU FOR BANKING             WITH US!




         TCF Business Money Market
         Account number                                   XXXXXX7488
         Low balance                                     $1,685,458.92
         Average balance                                 $1,909,625.59
         Interest paid year to date                         $10,711.06



DAILY ACTIVITY
         Date        Description                                   Additions   Subtractions                       Balance
         10-31       Beginning balance                                                                      $2,300,458.92
         11-06     ' Cash Mgmt Trsfr Dr                                          -250,000.00                 2,050,458.92
                       Ref           Funds Transfer To
                       Dep XXXXXX5554 From
                       Professional Fees
         11-16     ' Cash Mgmt Trsfr Dr                                          -365,000.00                  1,685,458.92
                       Ref        Funds Transfer To
                       Dep XXXXXX5554 From
         11-30     ' Interest Payment                                 313.91                                  1,685,772.83
         11-30       Ending totals                                  313.91     -615,000.00                $1,685,772.83



INTEREST INFORMATION
       Annual percentage yield earned                                                   0.20%
       Interest-bearing days                                                              30
       Average balance for APY                                                 $1,909,625.59
       Interest earned                                                              $313.91
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3/5/2021                   Case:20-01947-jwb               Doc #:455    Filed:
                                                                   Activity       04/13/2021
                                                                            - Deposit Accounts         Page 52 of 52




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:44:20 AM (ET)
   Account:             072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
   Date range:          11/1/2020 to 11/30/2020
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
                               Additional                                                                                                 Calculated
    Post Date    Reference                   Description                                                                  Debit Credit
                               Reference                                                                                                    Balance
                                             ATM DEBIT
    11/20/2020                               MERCHANT PURCHASE TERMINAL       AMZN Mktp US                               $11.65            $8,705.34
                                             QS2MS4AR3 Amzn com WAXXXXX XXXXXXX3630
                                             ATM DEBIT
    11/19/2020                               MERCHANT PURCHASE TERMINAL           PODS OF GRAND                         $189.74            $8,716.99
                                             RAPIDS 800 77676 MIXXXXX XXXXXXX3630
                                             ACCOUNT ANALYSIS FEE
    11/17/2020                                                                                                            $3.00            $8,906.73
                                             ANALYSIS ACTIVITY FOR 10/20
    11/30/2020 Totals                                                                                                   $204.39   $0.00




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                                  1/1
